     Case 1:23-cr-00396-MKB Document 6 Filed 12/18/23 Page 1 of 6 PageID #: 27

                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
JMH:SMS                                             271 Cadman Plaza East
F. #2023R00688                                      Brooklyn, New York 11201


                                                    December 18, 2023
By E-mail and ECF

The Honorable Robert M. Levy
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Franco Alexander Peraza Navas
                      Criminal Docket No. 23-CR-396 (MKB)

Dear Judge Levy:

                The government respectfully submits this letter in support of its application for
the detention of the defendant Franco Alexander Peraza Navas (“NAVAS”), who will be
presented on a seven-count Superseding Indictment charging him with violations of Title 18,
United States Code, Sections 2119 (carjacking), 1951(a) (Hobbs Act robbery), and 924(c)
(discharging and brandishing firearms during these offenses). As described below, these charges
are in connection with a wanton spree of at least two gunpoint carjackings and six gunpoint
robberies and attempted robberies that took place between August and December 2023. The
defendant is extremely dangerous—having fired his gun in at least three of these offenses. In
addition, the potential for a substantial mandatory minimum prison sentence gives him every
incentive to flee, and he has no ties to the community to leave behind. Accordingly, as described
below, detention is the only means to protect the public and ensure the defendant’s appearance in
court.
I.      NAVAS’s Gunpoint Carjackings and Robberies

              NAVAS engaged in at least two armed carjackings that occurred on or about
August 30, 2023 (the “August Carjacking”) and September 9, 2023 (the “September
Carjacking”) and six gunpoint robberies and attempted robberies that occurred on or about
September 8, 2023 (the “September Robbery”), October 17, 2023 (the “October Robbery” and
the “October Attempted Robbery”), November 5, 2023 (the “November Robbery”),
November 22, 2023 and December 9, 2023 (the “December Robbery”). During at least three of
his crimes, NAVAS discharged a firearm.

                Through the review of video surveillance footage, GPS and cell-site location data,
and witness interviews, and because of a common modus operandi, agents determined that the
perpetrator of the offenses was NAVAS. Specifically, with respect to some of the crimes, law
Case 1:23-cr-00396-MKB Document 6 Filed 12/18/23 Page 2 of 6 PageID #: 28
  Case 1:23-cr-00396-MKB Document 6 Filed 12/18/23 Page 3 of 6 PageID #: 29




Law enforcement agents confirmed through reviewing the RESIDENCE’s access database that
the individual leaving the RESIDENCE at that time was NAVAS.

                Footage from the RESIDENCE also showed that shortly after the robbery, the
same individual returned to the RESIDENCE wearing what appeared to be the same shoes and
pants, and carrying what appears to be the brown Nike shopping bag balled up under his arm.
Law enforcement agents confirmed through reviewing the RESIDENCE’s access database that
the individual returning to the RESIDENCE at that time was NAVAS.

               As noted previously, during several of the crimes, NAVAS discharged a firearm.
For example, during the October Robbery, NAVAS displayed a firearm and discharged one
round of ammunition into a bulletproof partition separating jewelry from customers. NAVAS
then kicked through the now-damaged bulletproof partition and stole approximately three trays
of diamond and gold rings with an approximate value of $375,000 before fleeing on a black
moped. Images of NAVAS—aiming his weapon in the direction of his victims—including his
face, were captured on surveillance camera footage of the incident and are included below:




                Similarly, during the November Robbery, an individual wearing a motorcycle
helmet (believed to be NAVAS) entered the establishment, displayed a firearm and discharged at
least approximately three rounds of ammunition inside of the store. NAVAS then removed
jewelry from the store and fled on a black moped. An image captured from surveillance camera
footage is included below:




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Case 1:23-cr-00396-MKB Document 6 Filed 12/18/23 Page 4 of 6 PageID #: 30
  Case 1:23-cr-00396-MKB Document 6 Filed 12/18/23 Page 5 of 6 PageID #: 31




                A finding of risk of flight need only be based on a preponderance of the evidence.
See United States v. Boustani, 932 F.3d 79, 81 (2d Cir. 2019) (citations omitted). A finding of
dangerousness must be supported by clear and convincing evidence. See United States v.
Ferranti, 66 F.3d 540, 542 (2d Cir. 1995). “The Court may . . . consider uncharged conduct in
assessing the degree of danger posed by a defendant’s release.” United States v. Persico, No. 21-
CR-004669 (HG), 2023 WL 2565206, at *2 (E.D.N.Y. Mar. 17, 2023) (citations omitted).
Further, the concept of “dangerousness” encompasses not only the effect of a defendant’s release
on the safety of identifiable individuals, such as victims and witnesses, but also “the danger that
the defendant might engage in criminal activity to the detriment of the community.” United
States v. Millan, 4 F.3d 1038, 1048 (2d Cir. 1993) (quoting legislative history). To put it
differently, defendants “pose a danger to the community not only when they commit acts of
violence, but also when it is likely they will commit non-violent acts that are detrimental to the
community.” United States v. Maratea, No. 18-CR-337-5 (WFK), 2018 WL 11191537, at *3
(E.D.N.Y. Nov. 20, 2018). In meeting its burden, the government is “not…bound by the rules
of evidence … and may proceed by proffer.” See United States v. Williams, 654 Fed. Appx. 3, 3
(2d Cir. 2016) (citing Ferranti, 66 F.3d at 542).

                Whether detention is sought on the basis of flight or dangerousness, the Bail
Reform Act lists four factors to be considered in the detention analysis: (1) the nature and
circumstances of the crimes charged; (2) the history and characteristics of the defendant,
including whether the defendant is currently on probation, parole, or other release; (3) the
seriousness of the danger posed by the defendant’s release; and (4) the evidence of the
defendant’s guilt. See 18 U.S.C. § 3142(g); see also United States v. Jacobson, 502 F. App’x 31,
32 (2d Cir. 2012). Where the evidence of guilt is strong, it provides “a considerable incentive to
flee.” Millan, 4 F.3d at 1046; see also United States v. Palmer-Contreras, 835 F.2d 15, 18 (1st
Cir. 1987) (per curiam) (where “the evidence against defendants is strong, the incentive for
relocation is increased”).

                Where a judicial officer concludes after a hearing that “no condition or
combination of conditions will reasonably assure the appearance of the person as required and
the safety of any other person and the community, such judicial officer shall order the detention
of the person before trial.” 18 U.S.C. § 3142(e)(1). As noted previously, in this case, there is a
rebuttable presumption in favor of detention.

IV.    The Defendant Should Be Detained Pending Trial

                The government has met its burden of establishing the defendant’s risk of danger
to the community and flight sufficient to require his detention. Indeed, the factors specified in
the Bail Reform Act weigh heavily in favor of the defendant’s detention. The defendant has
repeatedly brandished and discharged firearms in the course of armed robberies and carjackings,
and in several instances threatened to shoot innocent victims. The defendant faces a substantial
prison sentence, is not a United States citizen, and the evidence of his crimes are inescapably
compelling. Accordingly, detention is necessary in light of the danger he poses to the
community and the risk of flight.




                                                 5
     Case 1:23-cr-00396-MKB Document 6 Filed 12/18/23 Page 6 of 6 PageID #: 32




        A.     The Defendant’s Release Would Pose a Danger to the Community

                The defendant’s actions were indisputably dangerous. The defendant committed
multiple armed robberies and carjackings, and in several instances discharged firearms. Indeed,
no less than 5 separate times, he pulled the trigger of a loaded firearm, firing a bullet to ensure
that he got what he wanted. Moreover, the defendant has shown wanton disregard for law
enforcement in other ways. After law enforcement officers attempted to initiate a traffic stop,
the defendant led them on a vehicle chase that could have caused serious harm to innocent
bystanders. Under similar facts, courts have recognized that detention is needed to protect the
community. See United States v. Sternquist, No. 22-MJ-1005 (EK), 2022 WL 6162532, at *2
(E.D.N.Y. Oct. 8, 2022) (reversing magistrate judge’s order and ordering detention for a
defendant who was alleged to have possessed firearms and false law enforcement badges); id.
(“[T]he facts proffered by the government, and not contradicted by the defense, show [the
defendant] to be a danger to the community by clear and convincing evidence.”).

        B.     The Defendant Also Poses a Substantial Flight Risk

                 The defendant is facing a substantial prison sentence and is not a United States
citizen, giving him strong incentive to flee. Moreover, the proof of the defendant’s guilt is
overwhelming. As described above, among other evidence, video footage and other records
confirm that the defendant was the individual who perpetrated the carjackings and robberies. As
a result of this evidence of the defendant’s guilt, the defendant has considerable incentive to
flee—counseling strongly against his release under any conditions. See Millan, 4 F.3d at 1046;
Palmer-Contreras, 835 F.2d at 18. Such counsel for detention is strengthened by the fact that the
defendant has ties to other states and countries. Moreover, when confronted by agents on
November 3, 2023, the defendant did in fact flee. Put simply, there is a serious and substantial
risk that the defendant will not return to Court should he be released pending trial.

V.      Conclusion

              For all of the foregoing reasons, the government respectfully submits that the
defendant should be detained.

                                                      Respectfully submitted,

                                                      BREON PEACE
                                                      United States Attorney

                                              By:      /s/ Sean M. Sherman
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cc:     Clerk of Court (by ECF)
        Defense Counsel (by ECF)



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